             Case 23-16430-MAM      Doc 101    Filed 02/05/24   Page 1 of 1




                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                              WEST PALM BEACH DIVISION
                                  www.flsb.uscourts.gov


In re:
                                                      Case No. 23-16430-MAM
ROBERT A GIBSON,                                      Chapter 13

            Debtor.
____________________________________/


                       NOTICE TO WITHDRAW DOCUMENT
                  AND TO CANCEL HEARING ON 3/7/24 AT 10:00 AM

         COMES NOW the creditor, PALM ISLES I CONDOMINIUM ASSOCIATION, INC., by

and through the undersigned attorney, and hereby WITHDRAWS the previously filed following

documents:

   Renewed Motion for Clarification of the Automatic Stay (ECF Document No. 98) and
                   Notice of Hearing on Motion (ECF Document No. 99)


Dated: Boca Raton, FL
       February 5, 2024
                                         SACHS SAX CAPLAN, P.L.
                                         ATTORNEYS FOR PALM ISLES I
                                         CONDOMINIUM ASSOCIATION, INC.


                                  BY:    /s/ Daniel Weber
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